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· ·    ·   ·   ·   ·   · · · · · · · · · · ·      · · · · · ·Pages 1-188
·2·    ·   ·   ·   ·   ·IN THE UNITED STATES      DISTRICT COURT
· ·    ·   ·   ·   ·   · FOR THE DISTRICT OF      MASSACHUSETTS
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· ·    · · · · · · · · · · · · · · · ·No. 1:17-cv-10107-WGY
·4

·5· DAVID SETH WORMAN, et al.,
· · · · ·Plaintiffs,
·6· vs.

·7· CHARLES D. BAKER, et al.,
· · · · ·Defendants.
·8

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· ·    ·   ·   ·   ·   · · · DEPOSITION OF GARY KLEIN
12·    ·   ·   ·   ·   Tuesday, August 29, 2017 at 9:10 a.m.
· ·    ·   ·   ·   ·   Campbell, Campbell, Edwards & Conroy
13·    ·   ·   ·   ·   · · · ·One Constitution Center
· ·    ·   ·   ·   ·   · · ·Boston, Massachusetts 02129
14

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· · · ----------Jennifer A. Doherty, CSR--------------
18· · · · · · · Certified Shorthand Reporter

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·2
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·3·    · · ·by Mr. Sweeney· · · · ·5

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·1· · · ·A.· ·And individuals are responsible for
·2· registering individual sales.
·3· · · ·Q.· ·And in either event, no firearms was
·4· transferred to Massachusetts without registration,
·5· correct?
·6· · · · · · · · ·MR. PORTER:· Objection to the form.
·7· · · ·Q.· ·According to law?
·8· · · ·A.· ·According to law, yes.
·9· · · ·Q.· ·And what agency processes those
10· registrations?
11· · · ·A.· ·It's CJIS, the Criminal Justice
12· Information Service which is a division -- and
13· you'll have a witness on this, and I apologize, I
14· may not get this right, but my understanding is that
15· it is a division that is operated by EOPSS,
16· E-O-P-S-S, the Executive Office of Public Safety and
17· Security.
18· · · ·Q.· ·You'll defer to that witness who will be
19· talking tomorrow on the details of that, but that's
20· your understanding?
21· · · ·A.· ·Including on whether I have the exact name
22· of the organization.
23· · · ·Q.· ·That's fine.· Does the Office of the
24· Attorney General take a position with respect to


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·1· whether the registration of a fireman is an approval
·2· of that firearm as being compliant with
·3· Massachusetts law?
·4· · · ·A.· ·Yes.
·5· · · ·Q.· ·And what is that position?
·6· · · ·A.· ·That it is not approval.
·7· · · ·Q.· ·And what is the basis for that position?
·8· · · ·A.· ·A number of things.· The information
·9· registered wouldn't be sufficient to make a
10· determination of whether the firearm has lawfully
11· transferred.
12· · · ·Q.· ·To your knowledge, is there any process
13· within the Massachusetts government that is designed
14· to ascertain transaction by transaction whether or
15· not the firearm is compliant with Massachusetts
16· law?
17· · · ·A.· ·I would say the compliance review we
18· undertook was consistent with making that
19· evaluation.
20· · · ·Q.· ·And what conclusions did your compliance
21· review reach with respect to that evaluation?
22· · · · · · · · ·MR. PORTER:· Objection to the form of
23· that question.
24· · · ·A.· ·May I consult with Mr. Porter again on


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·1· · · ·Q.· ·Yes.
·2· · · ·A.· ·For the telephone inquiries I would say
·3· it's Dan Krockmalnic, who is making sure the
·4· inquiries are answered.· And for e-mails it's
·5· typically me, and I would say written inquiries -- I
·6· said e-mails -- but there are other ways inquiries
·7· come into the office.
·8· · · ·Q.· ·Does Dan Krockmalnic consult with you on
·9· responses that he gives to the telephone
10· inquiries?
11· · · ·A.· ·From time to time.
12· · · ·Q.· ·And you mentioned a telephone log.· Do you
13· review the log?
14· · · ·A.· ·Occasionally.
15· · · ·Q.· ·Do you ever give any guidance from the
16· Office of the Attorney General by telephone or by
17· e-mail to inquiries about the scope of the
18· enforcement notice other than simply referring them
19· to your website?
20· · · ·A.· ·I would say that it's possible that we
21· have, but mostly we refer people to the website on
22· that kind of question.
23· · · ·Q.· ·Had there been any inquires about whether
24· or not an assault weapon obtained prior to July 20,


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·1· 2016 can be sold in Massachusetts by an individual
·2· gun owner?
·3· · · ·A.· ·Yes.
·4· · · ·Q.· ·What have you responded?
·5· · · ·A.· ·The typical answer is:· We address this
·6· question on the website.· Here's the web address.
·7· That should answer your question.
·8· · · ·Q.· ·Have there been inquiries about whether or
·9· not an individual can sell an assault weapon
10· obtained prior to July 20, 2016 to a dealer in
11· Massachusetts?
12· · · ·A.· ·To a dealer?
13· · · ·Q.· ·Yes.
14· · · ·A.· ·I can't say for sure.
15· · · ·Q.· ·We talked earlier about the interrogatory
16· answer that listed the individuals who were involved
17· in preparing the Notice of Enforcement, and you
18· confirmed that those were the individuals.                I
19· noticed that the Attorney General Maura Healey's
20· name did not appear on that list.
21· · · · · · · · ·Did she have any involvement in
22· preparing the Notice of Enforcement?
23· · · ·A.· ·Did she have any involvement?· Yes.
24· · · ·Q.· ·What was her involvement?


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